                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                                       §
                                                       §
        Plaintiffs,
                                                       §
                                                       §     Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                                       §
                                                       §
GRANDE COMMUNICATIONS
                                                       §
NETWORKS LLC,
                                                       §
                                                       §
        Defendant.
                                                       §

                  AGREED JOINT MOTION TO CONTINUE TRIAL SETTING

          Plaintiffs and Defendant (together, the “Parties”) move the Court to continue the current

 trial setting and in support show as follows:

          This case is currently set for jury selection on February 24, 2020 and to begin trial on

 February 25, 2020. The Parties previously agreed and advised the Court that they needed ten days

 to try this case, which involves claims for copyright infringement of over 1,500 sound recordings.

          On Friday, February 7, 2020, however, the Court’s deputy informed the Parties’ local

 counsel that the Court’s current schedule does not allow for ten trial days. Rather, the Court’s

 schedule only allows for six full days of trial, including opening and closing (but not jury

 selection).1 The Court’s deputy stated that if the Parties did not believe that that schedule allowed

 an adequate time to try the case, the Court would be open to a request for a continuance.




 1
  Full days on February 25 and 26; from 9:00 a.m. to Noon on February 27; from 1:00 p.m. to 5:00 p.m. on February
 28; and full days on March 2, 3 and March 4, with the case going to the jury on March 4.


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         The Parties do not believe that six days is an adequate amount of time to try this case.

Accordingly, the Parties request that the Court continue the trial setting and reset it at a time that

allows for ten trial days, not counting jury selection but including opening and closing.


                                               Respectfully submitted,

                                               By: /s/ Andrew H. Bart

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that, on February 10, 2020, all counsel of record who are deemed
to have consented to electronic service are being served with a copy of this document
electronically.


                                             /s/ Daniel C. Bitting
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                                                3
4850-3872-3764
